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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
                                   _________


  LOREN OWENS,

        Plaintiff,                              Hon. Jane M. Beckering

  v.                                            Case No. 1:24-cv-00547-JMB-PJG


  ADROIT HEALTH GROUP, LLC, et al.,

        Defendants,
  ________________________________/

                                       ORDER

        This matter is before the Court on Plaintiff's Motion for Extension of Time to

 Serve Defendants, Does 1-133. (ECF No. 22). Accordingly,

        IT IS ORDERED that Plaintiff's Motion (ECF No. 22) is GRANTED. Plaintiff

 shall have until November 22, 2024, to effect service upon Unknown Parties, Does 1-

 133.

        IT IS SO ORDERED.



 Date: August 23, 2024                         /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge
